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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRIC'I` OF TEXAS

TYLER DIvIsIoN
vIRNETX INC., §
§
Piaimin‘, § CIviL AcrioN No. 6.»12-Cv~00855-
§ RWs
v. § '
§
APPLE INC., §
§
Defendant. §
§
vERDICT` FoRM

In answering these questions, you are to follow all of the instructions provided
by the Court during the Court’s jury instructions .Your answers to each question
must be unanimous

As used herein, “’ 135 patent” means U.S. Patent No. 6,502,135; “’ 151 patent”
means U.S. Patent No. 7,490,151; “’504 patent” means U.S. Patent No. 7,418,504;
“’21 1 patent” means _U.S. Patent No. 7,921,21 1.

1. Did VirnetX prove by a preponderance of the evidence that Apple’s
redesigned version of its VPN on Dernand feature infringes the following
claims ofVirnetX’s ’135 & ’151 patents?

Answer “Yes”`or “No” for each Claim.

’135 Patent l ’151 Patent
Claim l \/\_= 5 Clairn 13 1=_-‘5‘
Ciaim 7 yes `

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2. Did VirnetX prove by a preponderance of the evidence that Apple’s
redesigned version of the FaceTime feature infringes the following claims of

VirnetX’s ’504 & ’211 patents?

` Answer “Yes” or “No” for each Claim.

’504 Patent ` ’21 1 Patent

Claim 1 \/ 155 Claim 36 \l\"i$
Claim 2 §1\'-: § Clairn 47 \hE,S
Claim 5 1‘-.', .Claim 51 \|ES

Clairn 27 \hi§

Arzswer Question 3 anly ifyou answered “yes ”for any onuestionS l er 2 above
Otherwise, do not answer this question

3. What royalty do you tind, by a_preponderance of the evidence, would fairly
and reasonably compensate VirnetX for any infringement that you have

found?

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You have now reached the end of the verdict form and should review it to
ensure it accurately reflects your unanimous determinations The jury foreperson
should then sign and date the verdict form in the spaces below and notify the Coul“c
Security Officer that you have reached a verdict. The jury foreperson should retain
possession of the verdict form and bring it when the jury is brought back into the
courtroom ‘

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